Case: 1:17-md-02804-DAP Doc #: 1909-19 Filed: 07/19/19 1 of 7. PageID #: 88184




                     Exhibit 16
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-;~.•••~.-: Allergan                                                                                                                                                                                           .~~jII ~f~,l}InJ [g fl ~":
                                                                                                                                                      Case: 1:17-md-02804-DAP Doc #: 1909-19 Filed: 07/19/19 2 of 7. PageID #: 88185
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                                                                            Allergan pie and Subsidiaries
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                                                                                  At March 31, 2016
                                                                                Prepared by Carina Sinclair, Tax Department                                                                                           Warner Chilcott pie.
                                                                                                                                                                                                                      EIN: XX-XXXXXXX (Ireland)




                                                                                                                                                                                                                                                                                                                                                                                                                      100%
                                                                                         100%

                                                                                     Actavis Ireland Holding
                                                                                                                                                                                                                               100%
                                                                                             Limited
                                                                                       EIN: 98-1 114409 {Ireland)                                                                                                     arner Chilcott Holdings
                                                                                                                                                                                                                      Company Ill, Limited
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                                                                                       77.91 %                       22.09%
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                                                                                    Actavis Capital S.a r.l.
                                                                                      (flkla Acta,is WC Holding Sa r. l )
                                                                                     EIN: XX-XXXXXXX (Luxembourg)
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                        100%
              ·1ergan Pharmaceut1ca
                   International Ltd.
                                                                                 Actavis W.C. Holding Inc.                                                                                                                                                                                                                                                                        Actavis Finance S.a r.l.
                                                                                     EIN: 33-1 230081       (Delaware)
                                                                                                                                                        Swiss Branch                                                    ., 0.0001 % by AIHS                                                                                                                                       EIN: XX-XXXXXXX (Luxembourg)
             lf/kla Apt,lis Phamio Ltd.I •IN: -                                                                                                             Feb 22, 2016
                                                                                     P1eftllalffaM1edbyAci.!h'rs~tMS..tr.J
                                                                                                                                                                                                                            General Partner
       Acqc rlld by Actav s Cap,tal Sa•I o,, l>la•cr 30 2016



                                                                                     100%                   Oculeve, Inc.
                                                                                                        EIN: XX-XXXXXXX (Delaware)
                                                                                                             Aq,1red Augusl 10, 201S                             See separate org chart Page 6
                                                                                                                                                                                                                 100%

                                                                                                                                                                                                      Warner Chilcott Corporation
                                                                                                                                                                                                          EIN: XX-XXXXXXX (Delaware)                      [
                                                                                                                                                                                                                                                                Tango US Holdings Inc.
                                                                                                                                                                                                                                                                                      100%

                                                                                                                                                                                                                                                                  EIN: XX-XXXXXXX (Delaware)
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                                                                                                                                                                                                                                                                                                                                                     Finance s.a r.l. Co.
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                      100%
  WC Pharmaceuticals I Limited
        EIN: XX-XXXXXXX
               Gibraltar
                                                                                     100%                    Naurex Inc.
                                                                                                        EIN: 29-0TT5044 (Delaware)
                                                                                                             Aq,irod August 28. 201S
                                                                                                                                         7                                                                                                                                           83.3%
                                                                                                                                                                                                                                                               Forest Laboratories, LLC
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                                                                                                                                                                                                                                                                                                                                                                                                     100%


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                                                                                                                                                                                                                                                                                                                                                                                                                                                                   (Ukraine)
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                                                                                     100%                  AqueSys, Inc.                                                                                                                                      FRX Churchill Holdings, Inc.
                                                                                                           EIN:         (Delaware)                                                                                                                                      EIN: XX-XXXXXXX                                                                                                    (Delaware)                                                     Allergan SK s.r.o.
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                                                                                                            A<jlll11d0oiob«19,2015                               See separate org chart Page 2                                                                            (Delaware)                                                                                                                                                                               (Slovakia)                  100%       100%

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                                                                                                                                                                                                                                                                                                                                          Actavis Capital Sari                                       AHi CV HoldCo, LLC                                    Ap:ahs. -it:tdlrlg BV C\l\nt 15%
                                                                                     100%                  Anterios, Inc.                                                                                   Warner Chilcott Sales                                 Aptalis Holdings, Inc.                                                    Limited Partner                                          General Partner
                                                                                                           EIN:         (Delaware)                                                                         (US) LLC EIN: XX-XXXXXXX                              EIN: XX-XXXXXXX (Delaware)
                                                                                                                                                                                                                                                                                                                                                                                                                                                             Allergan S.R.L.
                                                                                                            Aoq,Jirod Januaiy 7, 2016                                                                                  Delaware                                                                                                                                                                                                                                    (Romania)                    IOOo/,      100%
                                                                                                                                                                                                                                                                                                                   24.92 % A talis Holdin s, Inc.,                                                                                                               Dl'feb14<'016
                                                                                                            era                                                                                                                           100%                                                                                  limited Partner                                                                                                            A~~a -Ii ttc,,:J·,,g ev O'M1$ 5¾

                                                                                                 Biopharmaceuticals, Inc.
                                                                                                             EIN: XX-XXXXXXX                                                                              If£: ;l-=:.:.·W Ii?!,; i -=<<                         ) ;1l_/!:i ':. I~• ~: ' I-=': 1_11_::                                                                  AHIC.V.                                                                             Allergan Bulgaria
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                                                               0•                                                                                                  100%                                                                                                                                                                     ~-
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                                                          Kythera Holdings Ltd.                 Kythera Biopharmaceuticals                       Kythera Biopharmaceuticals                                                                                           ------~-
                                                                    (Bermuda)                        (Europe) Ltd. (UK)                           Australia Ply Ltd. (Australia)                                                                                                    Allergan AHi S. ar.l.                                                                                                                                                       Allergan d.o.o.                                       Allergan
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 CONF IDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                                                                                                                                                                                                                                                                           ALLERGAN_MDL_01373716
-;~.•••~.-: Allergan                                        Allergan pie and Subsidiaries Case: 1:17-md-02804-DAP Doc #:'~~j]1Jr(~ffi_i
                                                                                                                            1909-19 Filed:           1-gn £~07/19/19 3 of 7. PageID #: 88186
                                                                                                                         I~ Ii H~ ;~ii, Ii C~ !!":' 11'it~1 W                                                                                                                                                                                                                                                                                                                                                                                                            Page 2 of 6
                                                                  At March 31, 2016
                                                    "Legacy Watson, Warner Chilcott US, Durata"                                 Warner Chilcott pie
                                                                                                                                                                                                                                                                                                (Ireland)
                                                                           Prepared by Carina Sinclair, Tax Department


                                                                                                                                                                                                                                                                                     Actavis Capital S.a r.l.
                                                                                                                                                                                                                                                                            (fi'kla Act.iv1s \"IC Holdings.a r.1 .) {luxembourg)



                                                   99.9999 % Aclavis Capital Sari Limited Partner                   100l',
                                                                                                                                                                                                         Actavis Capital S.a r.l                                            Actavis W.C. Holding Inc.
                                                                                                Actavis Finance S.il r.l.                                                    "APIL"                                                                                                 EINL XX-XXXXXXX (Delaware)
                                                                                                                                                                 100%                                        Swiss Branch
                                                                                          EIN: XX-XXXXXXX (Luxembourg)
                                                                                                                                                                lergan Pharmaceutica                                                                                                                                                                                                                                                                                                                                               1009,                                                 1009,
                                                                                                                                                                   International Ltd.                                                                                                                                                               100%                      100%                              100%                                100%                           100%
                                                                                          Actavis Finance S.a r.1. Co.                                                                                                                                                                                                                                                                                                                      Anda, Inc.                                                         Durata Therapeutics Inc.                        Warner Chilcott Corporation
                                                   •· 0.0001 %owner by AIHS                 EIN: 98-1 134580 (Florida)
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                                                                                                                                                                                                                                                                                                                                            Supply Inc.                    Inc.                                                          EIN: XX-XXXXXXX                  Pharmaceutlcals 1                     EIN: XX-XXXXXXX      (Delaware}                 EIN: XX-XXXXXXX              (Delaware)
                                                        as General Partner
                                                                                                                                                                                                                                         ·-~~11~,-.:-:111                                                                                EIN: XX-XXXXXXX           EIN: XX-XXXXXXX                                                           (Florida)                          Inc.
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                   100%                         10 0%                          100%                                100%                  100%                                     100%                                                                                  100%                                                             100%                                                                      lOOo/~
                                           Royce                                                                                                                                                    1                                                                       Aclavis                                             Watson                                                                         Watson                                                          Actavis Pharma, Inc.
       Makoff R&D                                                                                                                    j        Nicobrand                        Acta vis Laboratorie
                                        laboratoriesi                  TheRug~                             Watson                                                                                                                                              abaratories UT, Inc.                                                                                                                       Manufacturing                                                            (Ilk/a Watson
    Laboratories 1 Inc.                                                Group, Inc.                                                              Limited                        NY, Inc. (Ilk/a Watso                                                                                                                       Laboratories, lne.
                                             Inc.                                                      Pharmaceuticals                                           100%                                                                                                   (flklaW.:itson                                                                                                                    S1rvicts, Inc.                                                           Pharma, Inc.)
          1119/83                                                         512147                                                                11119!97                         Laboratories, Inc.}                                                                                                                           !Corona)
                                            31318 1                                                      (Asia) Ltd.                                                                                                                                               Laboratories, Inc.}                                                                                                                   El : 27-11141 12                                                        EIN: XX-XXXXXXX
     EIN: 95,3B28291                                                 EIN: 11,1956792                                                                                             EIN: 11· 1966265                                                                                                                          EIN: XX-XXXXXXX
                                       EIN: 59,2202295                                                   11/2311995                        (Northern Ireland.                                                                                                      EIN: XX-XXXXXXX                                                                                                                      (Delaware} 10/1312009
                                                                                                                                                                               (Copiaguel New Yor                                                                                                                           (Nevada) 2120192                                                         ,...,,,_,'W..it:1(1,fl/JNT~"flH·                                           9127193 (Delaware)
        (Galifomia)                                                     (NewYOJk)                           (BVI)                            i.e .. The UK)                                                                                                           (Delaware)


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 R&D Pharmaceutical,
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                                       Royce Research
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                                                                   Laboratories, Inc.       100%
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                                                                                                                                                                                Pharmaceutical,                             Natrapac, Inc.                                                                                                 Watson Pha==-7                                                                               Eden Blodesl~                                 Schein
         Inc.                            Group, Inc.                                                      WP Holdings,                    Pharmaceuticals                                                                      Inactive                                                                                                                                                                                                       Inc.               100,.,          Pharrnace-utlcal
                                                                      Ohio lnacti,e                                                                                                Wes~lnc.                                                                                                                                                 Private Ltd.
       11I12ill8
   EIN: 954713685
      (GalifOJnia)
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                                       EIN: 65-000375!!
                                           (FIOlida)
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                                                                                                                                               (BVI)
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~       0   orrioctt Capital
I ......Re sourtes 1 Inc.                                   100%
                                                                 IRugby Laboratories,
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                                                                                                       Pharmaceutical,,                                                                                                                                                                                                                                                                          EIN: 60--0963580
         11I1 2ill8                                                      615161                                                           11127/01                               EIN: 13,3817380                                                                                                                                                                                        (Delaware} .~"'ti« 2& 2:(1                      JDel~.vare)10~4!94                          (Bermuda)
                                                                                                          China Ltd
     EIN: XX-XXXXXXX                                                EIN: 11,2232159                         (BVI)                   I EIN: 73-1 631976                              (New York)                                                                                                                                                                                          C..i!.'IS. h;; U ~!J·..,

        (Galifornia}                                                   (NewY01k)                          7129/1999                 L__JDelaware)                                                                                                                                                                                                                                                                                        Watson
                                                                                                                                                                                                                                                                                                                                                                                                                                    Laboratories, Inc. 100%                                           100%
                                                                                                                   1100%                                                                                                                                                                                                                                                                                                             [Connecticut!                                                  Marsam Pharma 1
                                                                               25%                                                                                                                                                                                                                                                                                                                                                  EIN: 7:l-1631978                                                  LLC Inactive
  R&D Research &
 Development Corp.             100%                                 Chang1hou Slyao
                                                                                                   r-::::-All Enterprise
                                                                                                   I m•uconsulting
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      11112/98                                                     Pharmaceuticals Co.,                 (Shanghai) Co.                                                                                                                                                                                                                                                                                                                                                                                 {Delaware)
  EIN: XX-XXXXXXX
     (California)                                                         Ltd.
                                                                         (China)
                                                                                        J                 Ltd. {China)
                                                                                                          12/2911999
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                                                                                                                                                                                                                                                                                                                                                                                                                                    Laboratories, Inc.           100%                                 100%
                                                                                                                                                                                                                                                                                                                                                                                                                                        [Arizona)                                                         MSI, Inc.
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    R&D New Media
                               100%                                                                                                                                                                                                                                                                                                                                                                                                                                                                        6117194
     Services, Inc.                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      (Delaware)
         7/19199                                                                                                                                                                                                                                                                                                                                                                                                                     Schein Bayer
    EIN: XX-XXXXXXX                                                                                                                                                                                                                                                                                                                                                                                                                 Phannaceutlcal
                                                                                                                                                                                                                                                                                                                                                                                                                                                                100%
       (California)                                                                                                                                                                                                                                                                                                                                                                                                                  Services, Inc.
                                                                                                                                                                                                                                                                                                                                                                                                                                        Inactive
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                                                                                                                                                                                                                                                                                                                                                                                                                                        Delaware 715J91.



                                                                                                  Andrx                                                                                                      Actavls Laboratories
                    Andrx South                                                             Pharmaceuticals,                   SR Six, Inc.                 RxAPS, lnc.                 Andrx
                                                                                                                                                                                                               FL, Inc. (f;k/a
                                                                                                                                                                                                                                                        Watson                                   Watson                    r        Vahned                                                                                     Andrx
                  Carolina I, Inc.                                                               (NCI Inc.                   EIN : 65.0576247             EIN : 20.0590205       Pharmaceuticals                                                     Management                               Therapeutics,                     Phannaceutlca1s,                                                                         Laboratories (NJ)
                 EIN: 21).0299320                                                                                                                                                                            Walson labornt~·1es                     Corporation
                                                                                             EIN: 32.0043606                      (Florida)                    (Florida)       Sales and Marketing,                                                                                                 Inc.                              Inc.                                                                                  Inc. Inactive
                 (Soulh Carolina)                                                                                                                                                                                , c. -F O'lda)
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                                                                                            (Florida) 11 /21/1)2                  7fl/94                      01/09/04         Inc. (Florida) 11/21/02                                             EIN: XX-XXXXXXX                           EIN: XX-XXXXXXX                    EIN: XX-XXXXXXX                                                                           EIN: 65-1 152531
                  t 0/7 /03 lnacti,e                                                                                             lnacUve                                                                       EIN: 32-00436-02                     (Florida) 917199                         (Fl01ida) 9/27/05                 (New York) 2111i00                                                                        (Delaware)7I13/01
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    CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   ALLERGAN_MDL_01373717
-;~.•••~.-: Allergan                                                     Allergan pie and Subsidiaries Case: 1:17-md-02804-DAP Doc #: 1909-19 Filed: 07/19/19 4 of 7. PageID #: 88187
                                                                               At March 31, 2016                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Page 3 of 6
                                                                           "Arrow, Specifar, Ascent"
                                                                                Prepared by Carina Sinclair, Tax Department
                                                                                                                                                                                                                                                                                                       ct vis International Holding
                                                                                                                                                                                                                                                                                                              (f/k/a Watson Pharma lnlernational
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                                                                                                                                                                                                                                                                                                                                                                 Actavis, Inc. is general partner
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                                                                                                                                                                                                                                                               El                                                                                                or Aclavis, Inc. SCS and
  Note: Actavis Holding 2 S.a r.l. (flkla Watson Pharma 2 S.a.r.1.)                                                                                                                                                                                                                                                                                              Actavis. Inc. II SCS
  owns a single share of the following Maltese companies:
  •Arrow Laboratories Lid (Malta)
  •Arrow Supplies Ltd (Malta) - in liquidation
  •Actavis SeNices (Asia) Ltd (flk/a Marrow Holdings Lid. (Malta)
  •Arrow International Ltd (Malla)
  •Arrow Pharm (Malta) Ltd (Malta)                                                                                                                                                                                                                                                                            ctavis Pharma Holding S.a r. .
  •Robin Hood Holdings Ltd. (Malta)                                                                                                                                                                                                                                                                    (f/k/a Watson Pharma Holding S.a r.1.)                                                                                                                                                                      See Page 4
                                                                                                                                                                                                                                                                                                             JttJIB-108285   Lux !l)bourg
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  Note: Arrow ApS owns a single share (of 3000) of the Mexican company:
  • Watson Laboratories, S. de R.L. de C.V.
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                                 l.k.a.Aruw.· Pharma    IAanoge,ne,,l(Ply)Ltd.                                                                                                   (Pi'/ILW                     Dereg,stered
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 CONF IDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     ALLERGAN_MDL_01373718
-;~.•••~.-: Allergan
                                                                                                         Case: 1:17-md-02804-DAP Doc #: 1909-19 Filed: 07/19/19 5 of 7. PageID #: 88188
                                          Allergan pie and Subsidiaries                                                                                                                                                                                                                                                                                                                      Page 4 of 6
                                                                                                                                                  et vis International Holding S:-a·F.I
                                                at March 31, 2016                                                                                      {f/k/a Watson Pharma International
                                                                                                                                                   ·      s.a r.l.) (Luxembourg) EIN:98- 828 4
                                                "Actavis, Uteron"                                                                                                                         Actavis, Inc. is general partner
                                           Prepared by Carina Sinclair, Tax Department                                                                                                    or Actavis, Inc. SCS and
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                                                                   Actavis
                                                       S.a.r.l. Steinhausen branch                                                                                                                                                                                                                                                                        Note: Actavis Holding 2 S.a r.l (f/ltla Watson
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               Actavis lla~lari AS                                                                                    PAOMAR                              Actavis Finance ehf.
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                                                          . Actavis
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                                                            ·branch) ·
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                                                                                  Representative Offices:
                                                                                  1)    Albania                                                                                                                                                                                                                                                            45°/,
                                                                                  2)    Azerbaijan
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                                                                                  4)    Bosnia & Herzegovlnla                                                                                                                                                                                                                                              ASKAKK
                                                                                  5)    Kazakhstan                                                                                                                                                                                                                                                          (Japan)
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                Danmark A/S                                                       11)   Serbia                                                                                                                                                                                    Industrial                                ;Jrt>es                                                                 International
                   # DAOOOOOJ                                                     12)   Vietnam                                                                                                                                                                                  Development                                                                                                          Co., Ltd.
                  (Denmark)                                                       13)   Uzbekistan                                                                               Pharma                                                                                           Group Ltd.         I                                                                                                     hailand
                 (In liquidation)                                                                                                                                                 Ltd.                                                                                          __(.Hong..l{ong)__J
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 CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                                                                                                                                                                               ALLERGAN_MDL_01373719
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-;~.•••~.-: Allergan
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                                  Allergan pie and Subsidiaries                                                                                                                                                                                      l~Rrl/~i]ilil_~!Ts                                                                                                                                                                                                                                          Page 5 of 6
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                                       At March 31, 2016
                                     Tango US Holdings Inc.
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                               including Forest, Aptalis and Furiex                                                                                                                                                                               (EIN: 98-11 14526 {Luxembourg)
                                                Prepared by Carina Sinclair, Tax Department
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                                                                                                                                                                                                                                                   EIN: XX-XXXXXXX (Delaware}                       1            See page 6            :                            as General Partner
                                                                                                           Actavis
                                                                                                                                                                                                                                                      83.3%
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                                                                                                      Finance S.a r.l. Co.
                                                                                                            EIN; XX-XXXXXXX
                                                                                                                                                                                                  (Delaware)                              Forest Laboratories, LLC
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        '   Holding s                                                                                                                                                           Institute, Inc.                                                                                                             EIN: XX-XXXXXXX        Inc.
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        I    S.a r.l.
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                             Pharma, US Inc.                  Pharmaceuticals,                                                                                                                                                                                                                                                                          Forest
                              EIN: 2'3-Z6J9766                                                                                        Partner                                                                                                                                                                                                                                                                                                                                        Forest
                                 (Delaware)                        Inc.                                                                                                                                                                                                                                                                              Laboratories
                                                                      EIN: 71-09725?1                                                                                                                                                                                                                                                                                                                                                                                             Laboratories
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 CONF IDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                                                                                                                                                                                                                                                                                    ALLERGAN_MDL_01373720
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                                                                          Allergan pie and Subsidiaries                                                                                  Case: 1:17-md-02804-DAP Doc #:_r1]:ii-1)-,-,1-=-1-~11~1-l,·(I'     l " I''JI  I
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                                                                                At March 31, 2016
                                                                                                                                                                                                                                                                     ALLERGAN, INC.
                                                                          Allergan, Inc. and Subsidiaries                                                                                                                                                            EIN: XX-XXXXXXX       0010
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                                                                                                                   Inc.             Pharmaceuticals,                   Rico Holdings, Inc                                                                          Allergan Holdings, lnc. 1                                                                        Laboratories             ;:Samed L ' ~                                                        New Zealand Ltd.                      Pharmaceuticals
      EIN: XX-XXXXXXX                                    Therapeutics, Inc.                                                                                                                                                                                                                                                                                                                      EIN: XX-XXXXXXX              EIN: XX-XXXXXXX                                                                                                         SARL
                                                                                                  EIN: XX-XXXXXXX                        lnc. 6                         EIN: XX-XXXXXXX                                                                                     EIN: XX-XXXXXXX                                                                             (I nact,vc)                                                                                EIN: XX-XXXXXXX                      (Proprietary) Ltd .
       DI: 02/25/02                                       EI N: XX-XXXXXXX                                                                                                                                                                                                                                                                                                                        DI: 05/08/06                DI : 01/30/2002                                                                                                    DI : 12/19/2007
                                                                                                    DI: 04/07/95                         EIN : XX-XXXXXXX                DI: 11/17/94                                                                                DI : 11/17/94 Pl: Delaware,                                                                   EIN: XX-XXXXXXX                                                                                  DI: 09/28/8 1                         EIN: XX-XXXXXXX
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                           Holdings, LLC                      DI: 11/05/ 04                        Delivery, Ltd.                           Pharma                      EIN: XX-XXXXXXX
                              El N: XX-XXXXXXX                                                                                                                                                                                                                                                                                                                                                    Corporation                    lnc.(CA)                            EIN: 32-0 166899                                                       :           Holdings Inc.                   :
                                                              Pl : Delaware                     EIN: XX-XXXXXXX                               LLC                         DI: 08/25/75
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                            Development I                Development II                        Pte. Ltd.                         Healthcare India                                                                                                                                                            Healthcare               Pharmaceuticals                                                                       Pharmaceuticals                               Aesthetics
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                              EI N: 98 -1023164          EIN:XX-XXXXXXX                      EIN: XX-XXXXXXX                      Private Limited                                                     DI: 08/17/95
                                                                                                                                                                                                                                                                                                           Philippines, Inc.          Taiwan Co. Ltd.                                              DI: 12/03/82
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                                             l                2:01S frOrt'I Aller ,can                                                     1 AHi is owned by AGN. Inc. (1.000 common shares}. ASLLC 15 common sha,es) and APRlil (70 preler,ed voting shares}.                                                                                                                                                                                                                                                                                               llergaii'-,._



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                                                                 ~,o d1n~:s.. 1,~c                                                         1 Allergan S.A. in Spain is owned by AH i (38,411 sha res} and ln am ed UC (6,538 shares).                                                                                                                                                                                                                                                                                                                    lndustrie S.A.S\
                                                                                                                                          l Inamed Aest hetics Development Corp. cha nged its. name to lnamed Corporation e ffective ?/21/2006.                                                                                                                                                                                                                                                                                                            EIN: 98-05225 16
                                       US Branch                                                                                          4
                                                                                                                                            The registered business name of this entity is "The Seabreeze LP Holdings LLC AGN Seabreeze LLC li mite d Pa rtnership"_
                                                                                                                                          s Allerga n PharmaceuttCals. lre land owns SO% + 1 share of common stock in Allerga n India Private Limit ed , a joi nt vent ure w ith Pi rama l Hea lthcare l imited.
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                                                                                                                                          • MAP Pharmaceuticals. Inc. is owned by AGN. Inc. (65%) and ASUC {35%).                                                                                                                                                                                                                                                                                                                                       \     Pl: France /
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                                                                                                                                          1 He rbe rt Laboratories owns0.0 1% of Allergan Laboratories Limitada (Chile}.
                                                                                                                                          , Allergan Holdings Inc. owns 98% an d Allergan, Inc. owns 2% of Allergan Productos Farm aceuticos SA_
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     CONF IDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                                                                                                                                                                                                                                                                                                        ALLERGAN_MDL_01373721
